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                     EXHIBIT 71
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Highly Confidential                                                          TEVA_MDL_A_ 09643590
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 We came a                                                            r ornpanv
 long way in                                                          A strong specialty modicmr-,
                                                                       portfol 10, cis well                    U IC <St /\i--,
 the last century                                                                                      d'.:l


 Through mergers, acquisitions and                                    Co.nmer c.al presence                       111   8Li
 organic growth, fueled by our                                         ma rkets
 commitment to patients and healthcare
                                                                      57,000 ernployees
 communities

                                                                       201G revenues: $21.9 billion
                  Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 8 of 35. PageID #: 351559




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                                                                          Head q u a rte red I n Is r a e I

                                                                          Drstnbuung medicines in
                                                                          approximatclv 100 markets
                                                                          around the world

                                                                          Our business is divided acr ov.
                                                                          the United States, Europe .ind
                                .,,                                       Rc,~t of the World (ROW) .




 • North Amened

 • Europe

 • ROW
           Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 9 of 35. PageID #: 351560




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     One of
     the most
                                        s 1,000•
                                       employees


     competitive
                                                         87                      . . .........E
                                                                   production sites ••
     operational
     networks in                                             • • • • • •
                                        ·
                                  Manufactures

     the industry                 1 20 bI IOn
                                          11 ·                          tablets &
                                                                        capsules annually
Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 10 of 35. PageID #: 351561
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Providing accessible quality                                               tilled with cJ Teva medicine

medicines to 200 million patients                                          1 in 8 p r· e :, c n pt Io II p cJ ck<:> 111 n·1 r
                                                                           U I, fi I led with J Teva mc-d i cine
around the world every day
                                                                           1 in 5 prescriptions in lsr~1FI
                                                                           filled with        c1   Iova mcdu m«




  Source: IMS
           Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 12 of 35. PageID #: 351563




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~c=i'Zil



                                                            Teva has saved the U.S. healthcc:1n-:i

Saving billions for healthcare                              svstern

systems                                                     $215 bi 11 ion
                                                            the past decade
               Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 13 of 35. PageID #: 351564




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          Best in               26 R&D                    Pending                          Launches
          class R&D             and clinical              3 0 o.;                          1 , 0 00           generic
                                                          registrations pending FDA        launches globally in 2017
          capabilities          developrnent              approval

                                sites                     Leading with   1 00
                                                                           1




                                                          pending first-to-file ANDAs in
                                                         the U.S.


           e   o,                                         Over   600           pending
                                                          product approvals in growth
                                                          markets
                Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 14 of 35. PageID #: 351565




'uTZiJ




         Our core therapeutic areas




         Migraine and         Movement                               Pain                  Respiratory
          Headache           disorders and
                           Neurodegeneration
                Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 15 of 35. PageID #: 351566




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             Central nervous system disorders

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We are focused on improving                                               r r.-urnr-nt ,.)!             rc,l~qc,1n12-n)11111·11r1t
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                                                                           multrple \c                                   (11HIV1'))
the health of patients, mainly in                                                                 'c'r"O'.->I')


multiple sclerosis (MS), movement                                          Alilf•Lt'    L\ Lcc1ding trc·,11'1nr•1
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disorders, neurodegenerative conditions,                                   Dl,,,-,c,l,
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pain and migraine.                                                         1,J u v I g ii /\ I C' ; H l in g t r e ,-, t 1 1~ : , • 1 '.
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    Copaxone®
    The leadilng M
    (multiple sclerosis)

    therapy ini~I
    MS is the most
    disability in you. .
    2.5 million peopl
              Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 17 of 35. PageID #: 351568




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 The painful truth:
 Pain is· one of the most
 slgnificant healthcare proble
 we face todav
 Impacting hundreds of millions of peo
 destroying quality of life, costing $.billions
 treatment and lost productivity
                 Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 18 of 35. PageID #: 351569




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~e~'Zil
          Pain


 We have a range of investigational,                                      M1g1;11ne

 approved and marketed treatments
                                                                          l(1nc(~1 pain


                                                                          [\JPuropathic pain


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                                                                          opioids based on leadinp
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               Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 19 of 35. PageID #: 351570




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'ic=l'Zil
            Respiratory


  Helping the world breathe:
  Teva is ranked No. 4 in
  the world in Respiratory .'"
  Improving the lives of millions out
  of the 235 million people world-
  wide who are diagnosed as
  suffering from asthma, as well as
  from COPD and Nasal Rhinitis
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 We have a broad portfolio of in-line
                                                                    A~thn1d
 and pipeline products and solutions
 developed to meet the unique                                       COP[>

 needs of patients across the                                       J\llcq-;1c Rhrniu-,
 spectrum of respiratory diseases
                                                                    Opunuzrng respiratory therrl!)lf'~
                                                                    for patients through novel
                                                                    dehverv systems

                                                                    TJ1-geted brologics
             Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 21 of 35. PageID #: 351572




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    1      Helping the world breathe:
           Spiromax® /RespiClick®                                               [:,ft",ldl c.H                   tu.rt--d cirv          f)OW(il'
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                  Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 22 of 35. PageID #: 351573




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'if:jl/J!              Our leading specialty brands

                                                     aCOPAXONE~                                                                                   ~
                                                      (glatJramer acetate lr>Jec1k>n)   .Az.ILECT-               NUVJGILC.                        -.::::;,FENTORA
                 CNS                     $5.2                                           (racagilino tabtotc)     I.U: IAODAHMllt la hl1t 1   6"       renwnvt IJLJCCat tiJ/Jie1 '1'

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                         Respiratory     $1.2 ProAirRespiCLick                              ~-·                     ~nasl.
                                              [albuterol sulfate) Inhalation Powder(beclome~osone dipropionote HfA) ~lom~tha~)e
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  016 Rr-veuu«                                                                               INHAIAnON AEROSOL        Nasal Aerosol


                         Oncology        $1.1          ~BENDEKA                         d~GRANIX-
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                                                            (bendamustine HCI)                      lrfoctlon

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     Building A Promising Specialty Pipeline
                    Phase 1                                                            Phase 2                                                   Phase3                            Registration

                                                                  TV-45070 Topical                                                F.remaneiumat> (anti CGRP)
TV-46139 (abuse deterrent)
                                                                  Ne11ropa1hic pain                                               Chronic migraine
Pain
                                                                                                                                  (Global)

                                                                  ~a.slnuma.t> ••
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                                                                                                                                  Frermmeiumab(antl(GRP)
TEV-90105 (abuse deterrent)                                       Chronic Lower Back Pain                                         Episodic migraine
Pain
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Tarirette-synckomei · .                                           progressivt!)i ;·· · .                                          OusterHeadache

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Plmiinsori'fDl~~se s.. ,                              '·. .
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                                                                                                                                  (Global) (abuse deterrent)
                                                                                                                                  TV-46763
                                                                                                                                  Pain
                                                                                                                                                                           fte5lizumab• IV
                                                                                                                                                                           Asthma (Glaba/J
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                                                                  Pndopidine~ · . •                                               Osteoarthritis pain
                                                                                                                                                                           FluticasonePropionate MDPI
                                                                  Hun_tfngti,i, _iti~east(
                                                                                                          e;;          ¥%.....,   l~·-
                                                                                                                                  Multiple
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                                                                                                                                                                           Asthma (Growth marlrtts}


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                                                                                                                                  ---         ~-~~~-                       Asthma (Growth ma~ts)
                                                                                                                                  Resfaumab• SC                                                         • Migraine & Pain               9
                                                                                                                                  Afttlma (Global}
                                                                                                                                  CT-P10 ***                                                                Neurology &                 9
                                                                                                                                  Bioslmilar (Ritux!!!!,.e U.S.J                                            neuropsychiatry
                                                                                                                                  CT-P6 ***
                                                                                                                                  Biosimilar (HerceptJnB U.S.}                                             Respiratory                  5

                                                                                                                                                                                                           Biosimilars                  2



     Note: Pipeline is current as of Feb 1". 2017. Phasel indudes elso projects desgnatedfor INDfilng.
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     • Approved in the U.Sunderthe trade name: CINQAIRe .. In partnershipwithR~eneron ••• In partnerstup wnn ~                                                                                                                1[31711
Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 24 of 35. PageID #: 351575
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                                                                              PGT Healthcare-
 We also have a unique Over The
 Counter partnerships with a world                                 l xp.: 11 ':-.I ot I into n E::'W   Incl    (kf't"'.:>.   ',LI(   h     ,1

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 leader - P&G (Procter and Gamble)                                 ( ,1tqi1)1 I('\

 Drawing on Teva's go-to-market
                                                                   Ma r-1< et 111 g m ore th a n 2 0 U
 expertise, experience in marketing                                consumer healthcare brand,                                        it,

 branded medicines and P&G's                                       r11 CH('   t f l J f1   / () C O l in   t r I P ',


 marketing power
           Case: 1:17-md-02804-DAP Doc #: 2251-71 Filed: 08/13/19 27 of 35. PageID #: 351578




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 We are committed to                                                  Our R&D operations tor us 01,
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 the highest quality                                                  t   hr ( i u f~ Ii c, de' ct Iv c, cl c ~ 1 ~} 11
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'uTZtJ   Israel Operations
                                                                            Kiryat Shmona medical devices production
                                                                            Netanya API for pharmaceutical industries production, R&D        J1MD.        . r£'
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                                                                            Kfar-Saba R&D and Pharma
                                                                            Petach-Tikva company headquarters, R&D
                                                                            Jerusalem R&D and Pharma                                       l(f'AtS..b,\
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                                                                            Ashdod hospital kits production                             A\hdOd
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                                                                            Rehovot R&D
                                                                            Neot Hovav AP/ for pharmaceutical industries production
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                                                                            Shoham Teva ll marketing and distribution
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          A1hdad (Stonlo, Uqu,d1) & KSH (medical de111ces, 2nd pock)
                                                                                               SLI: Shoham· logistic Center
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'i r 31Zil


Teva's investment
                                               25% of Teva's sales originate in Israel manufacturing
in Israel                                     Teva's academic royalty payments account for 12% of

Major contribution                            national high education budget

                                              Over 7,000 employees, doubled since 2003
to Israel's economy,                              ----~- -     -   __ ,,. ~


academia and the                              Over $27B in exports over the past five years
                                                     -   -   --,              .,                       ·-~~



biotech industry                              Over $4B investment in R&D and Innovation in the
                                              last decade



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A strong
biopharmaceutical                         Presence of top global pharmaceutical companies:

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                                 Government :
                                 • Working closely with regulators
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    1                              and policymakers
                                 • Promoting regulation that
                                   supports innovation




 Industry:                                                                                       Academia:
 • Medical Device Incubator in                                                                      • Drug development and
   partnership with Phillips                                                                          commercialization partner with
 • Partner of Venture Capital funds                                  Teva is at                       Israeli academia
   in Israel                                                                                        • Teva Research Labs at Galilee
                                                                  the heart of the                    Medical School
                                                                                                    • National network of excellence in
                                                                       Israeli                        neuroscience (NNE) with 15
                                                                biopharmaceutical                       ii/ion dollars investment over
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                             Safe Harbor Statement under the U.S. Private
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